Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 1 of 301




                 EXHIBIT E
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 2 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 3 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 4 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 5 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 6 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 7 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 8 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 9 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 10 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 11 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 12 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 13 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 14 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 15 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 16 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 17 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 18 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 19 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 20 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 21 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 22 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 23 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 24 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 25 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 26 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 27 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 28 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 29 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 30 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 31 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 32 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 33 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 34 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 35 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 36 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 37 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 38 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 39 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 40 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 41 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 42 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 43 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 44 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 45 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 46 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 47 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 48 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 49 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 50 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 51 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 52 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 53 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 54 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 55 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 56 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 57 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 58 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 59 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 60 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 61 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 62 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 63 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 64 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 65 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 66 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 67 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 68 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 69 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 70 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 71 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 72 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 73 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 74 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 75 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 76 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 77 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 78 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 79 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 80 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 81 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 82 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 83 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 84 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 85 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 86 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 87 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 88 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 89 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 90 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 91 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 92 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 93 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 94 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 95 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 96 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 97 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 98 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 99 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 100 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 101 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 102 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 103 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 104 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 105 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 106 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 107 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 108 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 109 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 110 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 111 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 112 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 113 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 114 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 115 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 116 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 117 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 118 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 119 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 120 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 121 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 122 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 123 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 124 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 125 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 126 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 127 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 128 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 129 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 130 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 131 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 132 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 133 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 134 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 135 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 136 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 137 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 138 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 139 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 140 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 141 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 142 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 143 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 144 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 145 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 146 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 147 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 148 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 149 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 150 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 151 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 152 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 153 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 154 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 155 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 156 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 157 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 158 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 159 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 160 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 161 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 162 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 163 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 164 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 165 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 166 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 167 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 168 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 169 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 170 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 171 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 172 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 173 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 174 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 175 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 176 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 177 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 178 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 179 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 180 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 181 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 182 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 183 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 184 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 185 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 186 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 187 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 188 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 189 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 190 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 191 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 192 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 193 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 194 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 195 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 196 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 197 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 198 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 199 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 200 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 201 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 202 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 203 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 204 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 205 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 206 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 207 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 208 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 209 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 210 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 211 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 212 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 213 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 214 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 215 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 216 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 217 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 218 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 219 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 220 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 221 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 222 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 223 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 224 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 225 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 226 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 227 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 228 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 229 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 230 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 231 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 232 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 233 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 234 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 235 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 236 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 237 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 238 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 239 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 240 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 241 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 242 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 243 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 244 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 245 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 246 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 247 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 248 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 249 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 250 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 251 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 252 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 253 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 254 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 255 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 256 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 257 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 258 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 259 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 260 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 261 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 262 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 263 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 264 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 265 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 266 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 267 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 268 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 269 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 270 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 271 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 272 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 273 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 274 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 275 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 276 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 277 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 278 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 279 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 280 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 281 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 282 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 283 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 284 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 285 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 286 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 287 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 288 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 289 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 290 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 291 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 292 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 293 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 294 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 295 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 296 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 297 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 298 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 299 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 300 of 301
Case 1:23-cr-00490-SHS   Document 223-5   Filed 02/28/24   Page 301 of 301
